                Case 5:21-cr-00009-LGW-BWC       Document 661        Filed 07/18/23     Page 1 of 1
                                 United States District Court
                                      SOUTHERN DISTRICT OF GEORGIA
                                           WAYCROSS DIVISION

                           CHANGE OF PLEA/ENTRY OF PLEA MINUTES


Case No. CR521-9
United States of America
           vs.                                                     Tania Groover
                                                                   ____________________________________
Luis Alberto Martinez
                                                                   U. S. Attorney
10:58 - 11:36
___________________________                                        Jason Moon
                                                                   ____________________________________
                                                                   Attorney for Defendant
 Defendant/Age
                                                                   Interpreter Davor Zidovec

    ✔ Plea agreement (Received).                 ✔ Defendant Sworn                Counsel Waived.

         Plea agreement previously filed.

         Arraigned and plead _______________________ to count(s) _________________________________ .
    ✔ Plea of not guilty withdrawn and plea of _________________________________
                                                             Guilty              entered as to count(s)
                 fifty three (53)
         ____________________________        indictment.
                                      of the indictment/information.
                                                                                      S/A Borup
    ✔ Factual basis Established. Oral. Plea
                    __________________      Accepted Witness for factual basis ____________________ .
                                       ____________
    ✔ Adjudication of guilt ________
                             Made.
    ✔ Referred to probation office for pre-sentence investigation Yes.
                                                                  ____
    ✔ Sentencing Scheduled for _________________________
                                       Later date                        TBD
                                                         at ______________________________ .
    ✔ Bond Continued           Yes.
                               ____           Bond modified to _________________________ .

         Bond set at _____________________      _________

         Bond not made defendant in jail.

         Defendant remanded to custody of United States Marshal.




Honorable Lisa Godbey Wood, U. S. District Court Judge             Date 07/18/2023
Court Reporter          Debra Gilbert                              Probation Officer Nicole Hiers
Courtroom Deputy Clerk        Whitney Sharp                        U.S. Marshal
